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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                EASTERN DIVISION


UNITED STATES OF AMERICA,                       )
                                                )
                 Plaintiff,                     )
                                                )
v.                                              )                 No. 1:19-cr-10039-STA
                                                )
PIERRE DEANDRE WOODS,                           )
                                                )
                Defendant.                      )


                ORDER DEEMING NOTICE OF APPEAL TIMELY FILED


         Before the Court is Defendant’s Request to Have His Appeal Deemed Timely Filed, which

was filed on August 21, 2020. (ECF No. 51.) The government responded in opposition (ECF No.

52), to which Defendant replied on August 25, 2020. (ECF No. 53.)

         On October 16, 2019, a jury convicted Defendant of knowingly possessing a firearm which

had been shipped and transported in interstate commerce after knowingly having been convicted

of a crime punishable by imprisonment for a term exceeding one year, in violation of Title 18,

United States Code Section 922 (g)(1). (ECF No. 39.) This Court sentenced Defendant to 60

months of incarceration followed by three years of supervised release and entered judgment to that

end on March 13, 2020. (ECF No. 49.) Defense counsel subsequently filed a “Notice of Appeal”

on March 13, 2020. (ECF No. 50.) Counsel erroneously filed the “Notice of Appeal” under the

CM/ECF event filing code “Other” rather than the proper code of “Appeal,” and thus, the court

clerk for the Sixth Circuit did not automatically receive electronic notification of the appeal.

Defense counsel now moves the Court for an order deeming the notice timely filed and directing

the Clerk to process her appeal.
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       Under Rule 4(b)(1)(A)(i) of the Federal Rules of Appellate Procedure, the notice of appeal

must be filed within 14 days of entry of judgment. However, under Rule 4(b)(4), “[u]pon a finding

of excusable neglect or good cause, the district court may—before or after the time has expired,

with or without motion and notice—extend the time to file a notice of appeal for a period not to

exceed 30 days from the” original deadline. The government argues that the five-month delay

between the original filing and the current request requires a showing of excusable neglect and

that Defense counsel has not made any such showing.

       However, the Sixth Circuit “has made clear that a document that clearly indicates an intent

to appeal may suffice as notice, so long as it filed within the 40-day window and contains most of

the necessary elements required for a formal notice of appeal as specified in Rule 3 of the Federal

Rules of Appellate Procedure.” United States v. Dotz, 455 F.3d 644, 647 (6th Cir. 2006) (citing

United States v. Hoye, 548 F.2d 1271, 1273 (6th Cir.1977) (“where a document is filed within the

[deadline] which represents a clear assertion of an intent to appeal, courts of appeals have the

power to overlook irregularities where fairness and justice so require.”)). Here, Defendant filed a

Notice of Appeal well within the original 14-day window that complied with the requirements of

Rule 3—specified the party taking the appeal, designated the judgment being appealed, and named

the court to which the appeal is taken. But for the coding mistake made by counsel, the appeal

would have been processed correctly. Counsel for Defendant makes it clear that “all fault lies with

Defense Counsel” for using the wrong CM/ECF event code, and the Court finds that the delay in

recognizing the error was due to excusable neglect on the part of defense counsel. Therefore,

because the “Notice of Appeal” was filed within the 14-day window, the Court finds that the notice

of appeal was timely filed and GRANTS the request. The Court further DIRECTS the Clerk to


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cure counsel’s deficiency and take the necessary steps to process Defendant’s Notice of Appeal

(ECF No. 50) as if it had been correctly filed on March 13, 2020.

       IT IS SO ORDERED.

                                            s/ S. Thomas Anderson
                                            S. THOMAS ANDERSON
                                            CHIEF UNITED STATES DISTRICT JUDGE

                                            Date: August 28, 2020.




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